            Case 4:20-cv-05219-EFS                    ECF No. 21         filed 11/12/21    PageID.942 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                             FILED IN THE
                                                                   for thH_                                   U.S. DISTRICT COURT
                                                                                                        EASTERN DISTRICT OF WASHINGTON
                                                      Eastern District of Washington
                           ROGER R.,                                                                     Nov 12, 2021
                                                                                                              SEAN F. MCAVOY, CLERK
                                                                     )
                             Plaintiff                               )
                                v.                                   )        Civil Action No. 4:20-cv-05219-EFS
               KILOLO KIJAKAZI, Acting                               )
              Commissioner of Social Security,                       )


                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

u the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Plaintiff’s Motion for Summary Judgment (ECF No. 13) is DENIED.
u
              The Commissioner’s Motion for Summary Judgment (ECF No. 18) is GRANTED.
              JUDGMENT is entered in favor of Defendant.



This action was (check one):
u tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge                   Edward F. Shea                                            on a motions for
      Summary Judgment (ECF Nos. 13 and 18).


Date: 11/12/2021                                                             CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Lee Reams
                                                                                           %\ Deputy Clerk

                                                                             Lee Reams
